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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                  DistrictDistrict
                                             __________    of Maryland
                                                                   of __________

                  United States of America                      )
                             v.                                 )
                                                                )       Case No.    21-884-ADC
                                                                )
                                                                )
                                                                )
                                                                )
                          Defendant(s)


                                             CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                                             in the county of                              in the
                       District of                          , the defendant(s) violated:

            Code Section                                                  Offense Description




         This criminal complaint is based on these facts:




             Continued on the attached sheet.


                                                                                           Complainant’s signature


                                                                                            Printed name and title




Date:     25 March 2021
                                                                                              Judge’s signature

City and state:
                                                                                            Printed name and title
